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 1                                                                 Judge Franklin D. Burgess
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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT TACOMA
 9

10   UNITED STATES OF AMERICA,         )
                                       )              NO. CR05-5828FDB
11                    Plaintiff,       )
                                       )
12              v.                     )              ORDER
                                       )
13   BRIANA WATERS,                    )
                                       )
14                    Defendant.       )
     _________________________________ )
15

16          The Court having reviewed the United States’ Motion to File a Brief in Excess of
17   Twelve Pages, enters into the following order:
18          IT IS HEREBY ORDERED that the motion is GRANTED: The United States may
19   file a brief in response to Defendant’s appeal from Judge Arnold’s detention order that does
20   not exceed 18 pages in length.




                                        A
21          DATED this 27th day of March, 2008.
22

23
                                        FRANKLIN D. BURGESS
24
                                        UNITED STATES DISTRICT JUDGE
25
     Presented by:
26

27
     s/Mark Bartlett
28   Mark Bartlett
     First Assistant United States Attorney
                                                                           UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
                                                                            SEATTLE, WASHINGTON 98101
     ORDER/WATERS (CR05-5828FDB) - 1                                               (206) 553-7970
           Case 3:05-cr-05828-RBL       Document 388   Filed 03/27/08     Page 2 of 2



 1   s/Andrew C. Friedman
     ANDREW C. FRIEDMAN
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     Assistant United States Attorney
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                                                                        UNITED STATES ATTORNEY
                                                                        700 STEWART STREET, SUITE 5220
                                                                         SEATTLE, WASHINGTON 98101
     ORDER/WATERS (CR05-5828FDB) - 2                                            (206) 553-7970
